                                                                                    18-82436-CRJ13
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                        UNITED STATES BANKRUPTCY COURT
                 NORTHERN DISTRICT OF ALABAMA - NORTHERN DIVISION

  In the Matter of:
   Gary Cooper                            }      Case No: 18-82436-CRJ13
      PLAINTIFF,                          }      AP No: 19-80071-CRJ
   VS.                                    }
   Avadian Credit Union                   }
   BSI Financial Services                 }
      DEFENDANTS,



                            COURTROOM NOTES CONTINUING
Matter(s):                   RE: Doc #36; Status Conference
Date and Time:               Monday, January 06, 2020 10:00 AM
Appearances:                 John C. Larsen, attorney for Gary Cooper (Plaintiff)
                             Michele T. Hatcher (Trustee)
                             Timothy P Pittman, attorney for Avadian Credit Union (Defendant)
                             Timothy P Pittman, attorney for BSI Financial Services (Defendant)

Courtroom Deputy:            MeShae Bogue
Presiding Judge:             CLIFTON R. JESSUP JR.

Court Notes:                 Continued in open court to 2/10/2020 at 10:00 a.m., at the
                             Seybourn H. Lynne Federal Courthouse, Cain Street Entrance,
                             Courtroom 3rd Floor, Decatur, Alabama.




Date Prepared:01/07/2020




        Case 19-80071-CRJ       Doc 52   Filed 01/07/20 Entered 01/07/20 10:54:36     Desc Main
                                         Document Page 1 of 1
